                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE



UNITED STATES OF AMERICA                          )
                                                  )
V.                                                )      No. 2:08-CR-102
                                                  )
JESUS HUERTA, ET AL.                              )


              REPORT AND RECOMMENDATION
 REGARDING FLORES-DELACRUZ’S MOTIONS TO SUPPRESS (DOCS. 544
                        AND 700)

        The defendant Javier Flores-Delacruz has filed a motion to suppress items seized

during a vehicle stop. (Doc. 544). He subsequently filed an amended motion to suppress,

(Doc. 700). These motions have been referred to the magistrate judge pursuant to the

standing order of this Court and 28 U.S.C. § 636.      An evidentiary hearing was held on

December 9, 2009.

        On December 4, 2007, a federal arrest warrant was outstanding for Jesus Huerta for

federal firearms offenses. Numerous officers of the Washington County Sheriffs Office were

surveilling Jesus Huerta’s house on Cherokee Road in Johnson City in an effort to effect his

arrest. During the course of that surveillance, the officers observed a black Chevrolet truck

leave the premises. Sergeant William Gregg followed in his unmarked car, believing that

Huerta might be in it. After confirming that the truck was going over fifty miles per hour in

a forty-mile per hour zone, Gregg activated his blue lights, and the truck pulled over. Other

officers simultaneously arrived. The number of officers present at the traffic stop was more



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than justified by the fact that they believed that a federal fugitive, who was charged with

firearms violations, was present in the vehicle.

       Sergeant Gregg walked to the driver’s window, and Officer Sam Phillips walked to

the passenger window. Two other officers positioned themselves on either side of the

vehicle, at the rear.

       The truck was a rather large vehicle, and sat relatively high above the ground. It was

high enough that Sergeant Gregg could not discern what the driver might have in his hands,

and for that reason asked the driver to exit. Officer Phillips, who was at the passenger side,

had no difficulty at all seeing into the passenger compartment; Phillips is 6'7" tall. Phillips

observed on the passenger floorboard of the truck, only partially beneath the seat, a gallon-

sized ziplock bag full of currency. He also saw on the floorboard a neatly folded $100 bill.

Training and prior experience had taught Officer Phillips that drug users often use a currency

bill, folded in this particular fashion, to hold illegal drugs.

       The passenger purportedly spoke no English, but Phillips nevertheless successfully

communicated to him that he wanted to see some identification. The passenger handed

Phillips a Texas identification card that bore the name James Loya, and the photograph of

Jesus Huerta. The passenger, it was later learned, was the defendant herein, Javier Flores-

Delacruz.

       Phillips handed the Texas identification card to another officer, who ultimately handed

it to Sergeant Gregg. Seeing only the identification card, Gregg thought he had successfully

apprehended Jesus Huerta, and he radioed another police vehicle that he had done so. Gregg

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was rather surprised, however, when officers in that other vehicle radioed back, “So do we.”

As it turned out, those other officers indeed did have Mr. Huerta under arrest.

         Gregg and another officer, Lieutenant Remine, learned from Phillips of the ziplock

bag and the folded $100 bill in the floorboard. As Gregg was awaiting a report from his

dispatcher concerning his request for a records check, he overheard Lieutenant Remine ask

the driver, Miller-Guerra1, if he had anything illegal in the vehicle. Miller-Guerra said he did

not, at which point Remine asked Miller-Guerra for permission to search the vehicle. Miller-

Guerra consented.2 It is noted that Miller-Guerra spoke English.

         A search of the vehicle revealed, of course, the ziplock bag with currency, as well as

another bag containing currency, all of which totaled in excess of $23,000.00. The folded

$100 bill contained a white power believed to be cocaine and another bag of cocaine was

found in the truck. Additionally, numerous cell phones were found throughout the cab of the

truck.

         As an initial matter, there was probable cause for the traffic stop of this vehicle. Not

only was Sergeant Gregg “pacing” the vehicle, his vehicle was equipped with radar. The

truck was proceeding in excess of 10 miles an hour over the posted speed limit. The fact that

the officers were looking for Jesus Huerta to arrest him on an outstanding federal warrant is



         1
          Also a defendant in this case.
         2
         Remine himself did not testify. He is no longer employed by the Washington County
Sheriffs Office, because he was terminated for using marijuana. Gregg, however, clearly heard
Remine request permission of Miller-Guerra to search the vehicle, and he heard Miller-Guerra
give his consent. Gregg is believed, unreservedly.

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quite beside the point; so-called pretextual traffic stops are permissible so long as the officer

has probable cause to believe that a traffic violation had occurred. See, United States v.

Ferguson, 8 F.3d 385 (6th Cir. 1993). See also, Whren v. United States, 517 U.S. 806

(1996).

       Almost immediately after the traffic stop, Officer Phillips saw the ziplock bag of

currency and the folded $100 bill on the floorboard of the truck. Counsel went to great pains

to extract from the officers that there was “nothing illegal” about a bag full of money or a

folded $100 bill. That argument, however, misses the point. A ziplock crammed full of

currency is more than enough to arouse the suspicions of a normal citizen, much less a

trained police officer. By the same token, Officer Phillips immediately appreciated the

significance of the folded $100 bill on the floor of the truck, recognizing that it likely

contained a contraband substance. The bag of money and the folded bill, both of which were

in Phillips’ plain view, immediately altered the situation from a mere traffic stop to an

investigative detention in the sense of Terry v. Ohio, 392 U.S. 1 (1968). Sergeant Gregg and

Phillips clearly had a reasonable suspicion, based on articulable facts, that criminal activity

was afoot. In any event, relatively little time had expired up to this point, and Sergeant

Gregg was still awaiting the report from his dispatcher. Miller-Guerra in the meantime had

given his consent to search the vehicle, and that search revealed the contraband and evidence

described previously. A search that is conducted pursuant to a valid consent is, of course, an

exception to the Fourth Amendment’s requirement for a warrant. See, Schneckloth v.

Bustamonte, 412 U.S. 218 (1973).

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       There is no basis to suppress any of the evidence discovered in, and seized from,

Miller-Guerra’s vehicle on December 4, 2007. One further matter, however, should be

discussed. Counsel vigorously argued that certain “non-contraband” evidence should be

returned to him because a state criminal prosecution and an accompanying forfeiture action

was dismissed, but the items subject to that forfeiture action had not been returned to him.

       The only “non-contraband” items seized from this defendant as a result of the

December 4, 2007, traffic stop was the false Texas identification card. Various other

documents that were of concern to defendant’s counsel were not seized at that time, but

rather were seized from defendant’s person when he was arrested in Texas, on the basis of

this court’s warrant. In other words, those documents have no connection to the December

4, 2007 traffic stop and search.

       It is respectfully recommended that defendant’s motion to suppress and amended

motion to suppress be denied.3

       Respectfully recommended,


                                                        s/ Dennis H. Inman
                                                    United States Magistrate Judge




       3
         Any objections to this report and recommendation must be filed within fourteen (14)
days of its service or further appeal will be waived. 28 U.S.C. 636(b)(1).

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